                  UNITED STATES BANKRUPTCY COURT
                 EASTERN DISTRICT OF NORTH CAROLINA
                          RALEIGH DIVISION

In re:
                                               Chapter 7
Steven Dale Deaton,                     Case No. 23-02527-5-PWM


           Debtor.
____________________________________/

MXR Imaging, Inc.,

            Plaintiff,

v.

Steven Dale Deaton,                     Adversary Proc. No. 23-00102-5-PWM

           Defendant.
____________________________________/

               AGREED ORDER AND JUDGMENT IN RESPECT OF
                      NON-DISCHARGEABLE CLAIM
       Plaintiff and Defendant having advised the Court that they have agreed to the key terms of

a settlement resolving the above-captioned adversary proceeding (subject to additional

documentation), and for good cause shown, it is hereby ORDERED:

       1.      Plaintiff is hereby awarded Judgment in the amount of $100,000.00.

       2.      This Judgment is deemed non-dischargeable in accordance with 11 U.S.C.

§§ 523(a)(2)(A), 523(a)(4) and/or 523(a)(6).

       3.      Plaintiff may not take any steps to enforce this Judgment for a period of 45 days

from the date of entry of this Order, in order to permit the parties sufficient time to prepare (a) a

definitive settlement agreement, which includes mutually acceptable terms for payment of this

Judgment and (b) such other and further documentation as is required.

       4.      All current deadlines and dates in the adversary proceeding, including the discovery

deadline, final pretrial and trial dates, are continued pending resolution of this matter. If, for any

reason, the parties are unable to give effect to their current settlement in principle and enter into a

written, definitive settlement agreement resolving this Judgment within the referenced 45-day

period, then after the expiration of such period, Plaintiff may file such motion(s) as it deems

necessary, seeking for such other and further relief as may be proper.

       5.      The Court retains jurisdiction over this matter for all purposes, including enforcing

the terms of this Order.



                                                       MXR IMAGING, INC.

                                                       By: /s/ Benjamin S. Morrell
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            Counsel for Plaintiff


        STEVEN DALE DEATON

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